                         UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF WISCONSIN
____________________________________________

UNITED STATES OF AMERICA,
STATE OF W ISCONSIN,
STATE OF ILLINOIS,
and STATE OF MICHIGAN,

                    Plaintiffs,
      v.                                                          Case No. 10-CV-59

DEAN FOODS COMPANY,

               Defendant.
____________________________________________

                                  FINAL JUDGMENT

      W HEREAS, Plaintiffs filed their Complaint on January 22, 2010, and Plaintiffs

and Defendant, by their respective attorneys, have consented to the entry of this

Final Judgment without trial of any issue of fact or law, and without this Final

Judgment constituting any evidence against or admission by any party regarding any

issue of fact or law;

      AND W HEREAS, Defendant agrees to be bound by the provisions of this Final

Judgment pending its approval by the Court;

      AND W HEREAS, the essence of this Final Judgment is the prompt and

certain divestiture of certain rights or assets by Defendant to assure that competition

is not substantially lessened;

      AND W HEREAS, Plaintiffs require Defendant to make certain divestitures for

the purpose of remedying the loss of competition alleged in the Complaint;
       AND W HEREAS, Defendant has represented to Plaintiffs that the divestitures

required below can and will be made and that Defendant will later raise no claim of

hardship or difficulty as grounds for asking the Court to modify any of the divestiture

provisions contained below;

       NOW THEREFORE, before any testimony is taken, without trial of any issue

of fact or law, and upon consent of the parties, it is ORDERED, ADJUDGED AND

DECREED:

                                            I.

                                      Jurisdiction

       This Court has jurisdiction over the subject matter of and each of the parties

to this action. The Complaint states claims upon which relief may be granted against

Defendant under Section 7 of the Clayton Act, as amended (15 U.S.C. § 18).

                                            II.

                                       Definitions

As used in this Final Judgment:

       (A)    "Acquirer" means the person or entity to whom Defendant divests the

Divestiture Assets.

       (B)    "Dean Foods" means Defendant Dean Foods Company, a Delaware

corporation with its headquarters in Dallas, Texas, its successors and assigns, and

its subsidiaries, divisions, groups, affiliates, partnerships and joint ventures, and their

directors, officers, managers, agents, and employees.



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      (C)    "Divestiture Assets" means the W aukesha Plant, as defined below, and

all related assets for the W aukesha Plant (except for those specified in Section

II(C)(3) below), including:

             (1)    All tangible assets that comprise the W aukesha Plant business,

      including all property and contract rights, research and development activities;

      all manufacturing equipment, tooling and fixed assets, personal property,

      inventory, office furniture, materials, supplies, vehicles and other rolling stock,

      and other tangible property and all assets used in connection with the plant;

      all licenses, permits and authorizations issued by any governmental

      organization relating to the plant; all contracts, teaming arrangements,

      agreements, leases, commitments, certifications, and understandings, relating

      to the plant, including agreements with suppliers and with distributors; all

      customer lists and related customer information, contracts, accounts

      (including accounts receivable), and credit records; and all repair and

      performance records and all other records relating to the plant; and

             (2)    All intangible assets used in the development, production,

      servicing, and sale of Fluid Milk and other dairy products for the W aukesha

      Plant, including, but not limited to, all patents, licenses and sublicenses,

      copyrights, trademarks, trade names (including the Golden Guernsey and La

      Vaca Bonita brands and all related materials), service marks, service names,

      and other intellectual property; technical information, computer software and



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      related documentation; know-how and recipes; trade secrets; drawings,

      blueprints,   designs,    design   protocols,    specifications   for   materials,

      specifications for parts and devices, safety procedures for the handling of

      materials and substances; quality assurance and control procedures; design

      tools and simulation capability; all manuals and technical information

      Defendant provides to its own employees, customers, suppliers, agents, or

      licensees; and all research data concerning historic and current research and

      development efforts relating to the Divestiture Assets, including, but not

      limited to, designs of experiments, and the results of successful and

      unsuccessful designs and experiments.

             (3)    The term "Divestiture Assets" does not include: (a) the right to

      purchase raw milk from Foremost Farms USA Cooperative for processing at

      the W aukesha Plant obtained under the Milk Supply Agreement entered into

      on April 1, 2009 between Foremost Farms USA Cooperative and GG

      Acquisition, LLC; (b) any ice cream mix filler equipment used at the W aukesha

      Plant or any other equipment at that Plant dedicated solely to the

      manufacturing of ice cream mix; or (c) the Dean and Farm Fresh brands and

      all related materials.

      (D)    "Fluid Milk" means raw milk that has been processed for human

consumption as a beverage, but does not include organic milk, soy milk, extended

shelf life milk, ultra-high temperature milk, or aseptic milk.



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      (E)    "Plaintiff States" means the States of W isconsin, Illinois, and Michigan.

      (F)    "School Milk" means Fluid Milk produced, marketed, distributed, or sold

for use by schools.

      (G)    "W aukesha Plant" means Defendant's dairy processing plant located

at 2101 Delafield Street, W aukesha, W isconsin 53188-2299.

                                         III.

                                    Applicability

      (A)    This Final Judgment applies to Dean Foods, as defined above, and all

other persons in active concert or participation with Dean Foods who receive actual

notice of this Final Judgment by personal service or otherwise.

      (B)    If, prior to complying with Section IV or V of this Final Judgment,

Defendant sells or otherwise disposes of all or substantially all of its assets or of

lesser business units that include the Divestiture Assets, it shall require the

purchaser to be bound by the provisions of this Final Judgment. Defendant does not

need to obtain such an agreement from the Acquirer of the assets divested pursuant

to this Final Judgment.

                                         IV.

                                    Divestitures

      (A)    Defendant is ordered and directed, within ninety (90) calendar days

after the filing of the Proposed Final Judgment or five (5) calendar days after entry

of this Final Judgment by the Court, whichever is later, to divest the Divestiture



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Assets in a manner consistent with this Final Judgment to an Acquirer acceptable

to the United States in its sole discretion, after consultation with the Plaintiff States.

The United States in its sole discretion, after consultation with the Plaintiff States,

may agree to one or more extensions of this time period not to exceed thirty (30)

calendar days in total, and shall notify the Court in such circumstances. Defendant

agrees to use its best efforts to divest the Divestiture Assets as expeditiously as

possible.

      (B)    In accomplishing the divestiture ordered by this Final Judgment,

Defendant promptly shall make known, by usual and customary means, the

availability of the Divestiture Assets. Defendant shall inform any person making

inquiry regarding a possible purchase of the Divestiture Assets that they are being

divested pursuant to this Final Judgment and provide that person with a copy of this

Final Judgment. Defendant shall offer to furnish to all prospective Acquirers, subject

to customary confidentiality assurances, all information and documents relating to

the Divestiture Assets customarily provided in a due diligence process except such

information or documents subject to the attorney-client privilege or work-product

doctrine. Defendant shall make available such information to Plaintiffs at the same

time that such information is made available to any other person.

      (C)    Defendant shall provide the Acquirer and Plaintiffs with information

relating to the personnel involved in the operation and sale of the Divestiture Assets

to enable the Acquirer to make offers of employment. Defendant will not interfere



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with any negotiations by the Acquirer to employ any Defendant employee whose

primary responsibility relates to the Divestiture Assets.

      (D)    Defendant shall permit prospective Acquirers of the Divestiture Assets

to have reasonable (1) access to personnel and to make inspections of the physical

facilities of the W aukesha Plant; (2) access to any and all environmental, zoning,

and other permit documents and information; and (3) access to any and all financial,

operational, or other documents and information customarily provided as part of a

due diligence process.

      (E)    Defendant shall warrant to the Acquirer that the Divestiture Assets will

be operational on the date of sale.

      (F)    Defendant shall not take any action that will impede in any way the

permitting, operation, or divestiture of the Divestiture Assets.

      (G)    Defendant shall warrant to the Acquirer that there are no material

defects in the environmental, zoning, or other permits pertaining to the operation of

each asset, and that following the sale of the Divestiture Assets, Defendant will not

undertake, directly or indirectly, any challenges to the environmental, zoning, or

other permits relating to the operation of the Divestiture Assets.

      (H)    Unless the United States in its sole discretion, after consultation with the

Plaintiff States, otherwise consents in writing, the divestiture pursuant to Section IV,

or by trustee appointed pursuant to Section V of this Final Judgment, shall include

the entire Divestiture Assets, and shall be accomplished in such a way as to satisfy



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the United States in its sole discretion, after consultation with the Plaintiff States, that

the Divestiture Assets can and will be used by the Acquirer as part of viable, ongoing

Fluid Milk and School Milk processing businesses.             The divestitures, whether

pursuant to Section IV or Section V of this Final Judgment:

              (1)     shall be made to an Acquirer that, in the sole judgment of the

       United States, after consultation with the Plaintiff States, has the intent and

       capability (including the necessary managerial, operational, technical, and

       financial capability) of competing effectively in the sale of Fluid Milk and

       School Milk; and

              (2)     shall be accomplished so as to satisfy the United States in its

       sole discretion, after consultation with the Plaintiff States, that none of the

       terms of any agreement between an Acquirer and Defendant give Defendant

       the ability unreasonably to raise the Acquirer's costs, to lower the Acquirer's

       efficiency, or otherwise to interfere in the ability of the Acquirer to compete

       effectively.

                                            V.

                               Appointment of Trustee

       (A)    If Defendant has not divested the Divestiture Assets within the time

period specified in Section IV(A), Defendant shall notify Plaintiffs of that fact in

writing. Upon application of the United States in its sole discretion, after consultation

with the Plaintiff States, the Court shall appoint a trustee selected by the United



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States, after consultation with the Plaintiff States, and approved by the Court to

effect the divestiture of the Divestiture Assets.

      (B)      After the appointment of a trustee becomes effective, only the trustee

shall have the right to sell the Divestiture Assets. The trustee shall have the power

and authority to accomplish the divestiture to an Acquirer acceptable to the United

States in its sole discretion, after consultation with the Plaintiff States, at such price

and on such terms as are then obtainable upon reasonable effort by the trustee,

subject to the provisions of Sections IV, V, and VI of this Final Judgment, and shall

have such other powers as this Court deems appropriate. Subject to Section V(D)

of this Final Judgment, the trustee may hire at the cost and expense of Defendant

any investment bankers, attorneys, or other agents, who shall be solely accountable

to the trustee, reasonably necessary in the trustee's judgment to assist in the

divestiture.

      (C)      Defendant shall not object to a sale by the trustee on any ground other

than the trustee's malfeasance.        Any such objections by Defendant must be

conveyed in writing to Plaintiffs and the trustee within ten (10) calendar days after

the trustee has provided the notice required under Section VI.

      (D)      The trustee shall serve at the cost and expense of Defendant, on such

terms and conditions as the United States in its sole discretion, after consultation

with the Plaintiff States, approves, and shall account for all monies derived from the

sale of the assets sold by the trustee and all costs and expenses so incurred. After



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approval by the Court of the trustee's accounting, including fees for its services and

those of any professionals and agents retained by the trustee, all remaining money

shall be paid to Defendant and the trust shall then be terminated. The compensation

of the trustee and any professionals and agents retained by the trustee shall be

reasonable in light of the value of the Divestiture Assets and based on a fee

arrangement providing the trustee with an incentive based on the price and terms

of the divestiture and the speed with which it is accomplished, but timeliness is

paramount.

      (E)    Defendant shall use its best efforts to assist the trustee in accomplishing

the required divestiture. The trustee and any consultants, accountants, attorneys,

and other persons retained by the trustee shall have full and complete access to the

personnel, books, records, and facilities of the business to be divested, and

Defendant shall develop financial and other information relevant to such business

as the trustee may reasonably request, subject to reasonable protection for trade

secret or other confidential research, development, or commercial information.

Defendant shall take no action to interfere with or to impede the trustee's

accomplishment of the divestiture.

      (F)    After its appointment, the trustee shall file monthly reports with Plaintiffs

and the Court setting forth the trustee's efforts to accomplish the divestiture ordered

under this Final Judgment. To the extent such reports contain information that the

trustee deems confidential, such reports shall not be filed in the public docket of the



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Court. Such reports shall include the name, address, and telephone number of each

person who, during the preceding month, made an offer to acquire, expressed an

interest in acquiring, entered into negotiations to acquire, or was contacted or made

an inquiry about acquiring, any interest in the Divestiture Assets, and shall describe

in detail each contact with any such person. The trustee shall maintain full records

of all efforts made to divest the Divestiture Assets.

      (G)    If the trustee has not accomplished the divestiture ordered under this

Final Judgment within six (6) months after its appointment, the trustee shall promptly

file with the Court a report setting forth (1) the trustee's efforts to accomplish the

required divestiture, (2) the reasons, in the trustee's judgment, why the required

divestiture has not been accomplished, and (3) the trustee's recommendations. To

the extent the report contains information that the trustee deems confidential, the

report shall not be filed in the public docket of the Court. The trustee shall at the

same time furnish such report to Plaintiffs, which shall have the right to make

additional recommendations consistent with the purpose of the trust. The Court

thereafter shall enter such orders as it shall deem appropriate to carry out the

purpose of the Final Judgment, which may, if necessary, include extending the trust

and the term of the trustee's appointment by a period requested by the United States

in its sole discretion, after consultation with the Plaintiff States.




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                                          VI.

                          Notice of Proposed Divestiture

      (A)    W ithin two (2) business days following execution of a definitive

divestiture agreement, Defendant or the trustee, whichever is then responsible for

effecting the divestiture required herein, shall notify Plaintiffs of any proposed

divestiture required by Section IV or V of this Final Judgment. If the trustee is

responsible, it shall similarly notify Defendant. The notice shall set forth the details

of the proposed divestiture and list the name, address, and telephone number of

each person not previously identified who offered or expressed an interest in or

desire to acquire any ownership interest in the Divestiture Assets, together with full

details of the same.

      (B)    W ithin fifteen (15) calendar days of receipt by Plaintiffs of such notice,

the United States, after consultation with the Plaintiff States, may request from

Defendant, the proposed Acquirer, any other third party, or the trustee, if applicable,

additional information concerning the proposed divestiture, the proposed Acquirer,

and any other potential Acquirer. Defendant and the trustee shall furnish to the

United States, which will share that information with the Plaintiff States upon any

Plaintiff State's request, any additional information requested within fifteen (15)

calendar days of the receipt of the request, unless the parties shall otherwise agree.




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      (C)    W ithin thirty (30) calendar days after receipt of the notice or within

twenty (20) calendar days after the United States has been provided the additional

information requested from Defendant, the proposed Acquirer, any third party, and

the trustee, whichever is later, the United States in its sole discretion, after

consultation with the Plaintiff States, shall provide written notice to Defendant and

the trustee, if there is one, stating whether or not it objects to the proposed

divestiture. If the United States provides written notice that it does not object, the

divestiture may be consummated, subject only to Defendant's limited right to object

to the sale under Section V(C) of this Final Judgment. Absent written notice that the

United States does not object to the proposed Acquirer or upon objection by the

United States, a divestiture proposed under Section IV or Section V shall not be

consummated. Upon objection by Defendant under Section V(C), a divestiture

proposed under Section V shall not be consummated unless approved by the Court.

                                          VII.

                                     Financing

      Defendant shall not finance all or any part of any purchase made pursuant to

Section IV or V of this Final Judgment.




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                                        VIII.

                                Asset Preservation

      Until the divestiture required by this Final Judgment has been accomplished,

Defendant shall take all steps necessary to comply with the Asset Preservation

Stipulation and Order entered by this Court. Defendant shall take no action that

would jeopardize the divestiture ordered by this Court.

                                         IX.

                                     Affidavits

      (A)    W ithin twenty (20) calendar days of the filing of the Proposed Final

Judgment in this matter, and every thirty (30) calendar days thereafter until the

divestiture has been completed under Section IV or V, Defendant shall deliver to

Plaintiffs an affidavit as to the fact and manner of its compliance with Section IV or

V of this Final Judgment. Each such affidavit shall include the name, address, and

telephone number of each person who, during the preceding thirty (30) calendar

days, made an offer to acquire, expressed an interest in acquiring, entered into

negotiations to acquire, or was contacted or made an inquiry about acquiring, any

interest in the Divestiture Assets, and shall describe in detail each contact with any

such person during that period. Each such affidavit shall also include a description

of the efforts Defendant has taken to solicit buyers for the Divestiture Assets and to

provide required information to prospective Acquirers, including the limitations, if

any, on such information. Provided that the information set forth in the affidavit is



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true and complete, any objection by the United States in its sole discretion, after

consultation with the Plaintiff States, to information provided by Defendant, including

any limitation on information, shall be made within fourteen (14) calendar days of

receipt of such affidavit.

      (B)    Defendant shall keep all records of all efforts made to preserve and

divest the Divestiture Assets until one year after such divestiture has been

completed.

                                          X.

                              Compliance Inspection

      (A)    For the purposes of determining or securing compliance with this Final

Judgment, or of determining whether the Final Judgment should be modified or

vacated, and subject to any legally recognized privilege, from time to time authorized

representatives of the United States, including consultants and other persons

retained by the United States, shall, upon written request of an authorized

representative of the Assistant Attorney General in charge of the Antitrust Division,

and on reasonable notice to Defendant, be permitted:

             (1)    access during Defendant's office hours to inspect and copy, or

      at the option of the United States, to require Defendant to provide hard copy

      or electronic copies of, all books, ledgers, accounts, records, data, and

      documents in the possession, custody, or control of Defendant, relating to any

      matters contained in this Final Judgment; and



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             (2)    to interview, either informally or on the record, Defendant's

      officers, employees, or agents, who may have their individual counsel present,

      regarding such matters. The interviews shall be subject to the reasonable

      convenience of the interviewee and without restraint or interference by

      Defendant.

      (B)    Upon the written request of an authorized representative of the

Assistant Attorney General in charge of the Antitrust Division, Defendant shall submit

written reports or responses to written interrogatories, under oath if requested,

relating to any of the matters contained in this Final Judgment as may be requested.

      (C)    If at the time information or documents are furnished by Defendant to

the United States, Defendant represents and identifies in writing the material in any

such information or documents to which a claim of protection may be asserted under

Rule 26(c)(1)(G) of the Federal Rules of Civil Procedure, and Defendant marks each

pertinent page of such material, "Subject to claim of protection under Rule

26(c)(1)(G) of the Federal Rules of Civil Procedure," then the United States shall

give Defendant ten (10) calendar days notice prior to divulging such material in any

legal proceeding (other than a grand jury proceeding).

      (D)    The United States may share information or documents obtained under

Section X with the Plaintiff States.




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                                          XI.

                      Treatment of Confidential Information

      No information or documents obtained by the means provided in this Final

Judgment shall be divulged by the United States or the Attorney General of

W isconsin, Illinois, or Michigan to any person other than an authorized

representative of the executive branch of the United States, except in the course of

legal proceedings to which the United States or the Attorney General of W isconsin,

Illinois, or Michigan is a party (including grand jury proceedings), or for the purpose

of securing compliance with this Final Judgment, or as otherwise required by law.

                                          XII.

                       Notification of Future Transactions

      Unless such transaction is otherwise subject to the reporting and waiting

period requirements of the Hart-Scott-Rodino Antitrust Improvements Act of 1976,

as amended, 15 U.S.C. § 18a (the "HSR Act"), Defendant, without providing

advance notification to the Antitrust Division and to any Plaintiff State in which any

of the assets or interests are located or whose border is less than 150 miles from

any such assets or interests, shall not directly or indirectly acquire any assets of or

interest, including any financial, security, loan, equity or management interest, in any

Fluid Milk processing plant located in the United States, where the value of the

acquisition is $3 million or greater.




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      Such notification shall be provided to the Antitrust Division in the same format

as, and per the instructions relating to the Notification and Report Form set forth in

the Appendix to Part 803 of Title 16 of the Code of Federal Regulations as amended,

except that the information requested in Items 5 through 9 of the instructions must

be provided only about Fluid Milk and School Milk processing. Notification shall be

provided at least thirty (30) calendar days prior to acquiring any such interest. W ithin

the 30-day period after notification, representatives of the Antitrust Division may

make a written request for additional information or documentary material relevant

to the proposed acquisition as though 15 U.S.C. § 18a(e) were applicable ("Second

Request"). In the event of a Second Request, Defendant shall not consummate the

proposed transaction or agreement until thirty (30) calendar days after responding

consistent with 15 U.S.C. § 18a(e)(2). Early termination of the waiting periods in this

paragraph may be requested and, where appropriate, granted in the same manner

as is applicable under the requirements and provisions of the HSR Act and rules

promulgated thereunder.

      All references to the HSR Act in the proposed Final Judgment refer to the

HSR Act as it exists at the time of the transaction or agreement and incorporate any

subsequent amendments to the Act.




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                                         XIII.

                                 No Reacquisition

      Defendant shall not reacquire any part of the Divestiture Assets during the

term of this Final Judgment.

                                         XIV.

                            Retention of Jurisdiction

      This Court retains jurisdiction to enable any party to this Final Judgment to

apply to this Court at any time for further orders and directions as may be necessary

or appropriate to carry out or construe this Final Judgment, to modify any of its

provisions, to enforce compliance, and to punish violations of its provisions.

                                         XV.

                          Expiration of Final Judgment

      Unless this Court grants an extension, this Final Judgment shall expire ten

(10) years from the date of its entry.

                                         XVI.

                          Public Interest Determination

      The parties have complied with the requirements of the Antitrust Procedures

and Penalties Act, 15 U.S.C. § 16, including making copies available to the public

of this Final Judgment, the Competitive Impact Statement, and any comments

thereon and the United States's responses to those comments. Based upon the

record before the Court, which includes the Competitive Impact Statement and any


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comments and response to comments filed with the Court, entry of this Final

Judgment is in the public interest.

      Dated at Milwaukee, W isconsin, this 29th day of July, 2011.

                                             BY THE COURT:




                                             J.P. Stadtmueller
                                             U.S. District Judge

Judgment entered this 29th day of July, 2011.

JON W . SANFILIPPO
Clerk of Court

By:   s/ Nancy A. Monzingo
      Deputy Clerk




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